[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The court, having thoroughly and carefully reviewed the record in this case including the filed stipulation of facts and the Memorandum of Decision dated February 22, 2000, in Michael Robinson v. Commissioner ofCorrection, Docket No. CV97-405187, appeal pending S.C. 16368, and the Memorandum of Decision in Gus Woods v. Commissioner of Correction, CV99-587087, Judicial District of Hartford (Rittenband, J., 9/13/00), orders as follows:
Judgment shall enter for the petitioner based on the earlier decisions mentioned herein. It is therefore ordered that the petitioner's parole-eligibility be determined based on the law in effect on the date of commission of his offense, on or about August 24, 1995.
SO ORDERED.
Dated at New Haven, Connecticut, this 14th day of May, 2001.
By the Court,
  ___________________________ ANTHONY M. DeMAYO JUDGE OF THE SUPERIOR COURT